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                          REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED

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                14
                                                     UNITED STATES DISTRICT COURT
                15
                                                NORTHERN DISTRICT OF CALIFORNIA
                16
                                                           SAN JOSE DIVISION
                17

                18      ZOOM VIDEO COMMUNICATIONS, INC.,            CASE NO. 5:21-cv-1727-EJD
                19                      Plaintiff,                  PROPOSED PROTOCOL FOR EXPEDITED
                                                                    SINGLE-ISSUE RESOLUTION
                20            vs.
                21      RINGCENTRAL, INC.,
                22                      Defendant.
                23      RINGCENTRAL, INC.,
                24                      Counterclaimant,
                25            vs.
                26      ZOOM VIDEO COMMUNICATIONS, INC.,
                27                      Counterdefendant.
                28

                                                                                              PROPOSED PROTOCOL FOR
ATTORNEYS AT LAW
 SILICON VA LLE Y
                                                                                   EXPEDITED SINGLE-ISSUE RESOLUTION
                                                                                             CASE NO. 5:21-cv-1727-EJD
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 1             Pursuant to the discussions with the Court at the August 19, 2021 Case Management

 2   Conference (Dkt. 74), Plaintiff and Counterdefendant Zoom Video Communications, Inc.

 3   (“Zoom”) and Defendant and Counterclaimant RingCentral, Inc. (“RingCentral”), by and

 4   through their respective counsel of record, hereby jointly submit the following proposal, which is

 5   intended to facilitate the expedited exchange of discovery necessary to resolve the issue of whether

 6   Zoom has any obligation to support RingCentral customers beyond                      (the “Issue”).

 7   The proposed schedule assumes a hearing on the Issue in February 2022. In the event the Court

 8   sets the hearing for a different time, the parties will meet in good faith to adjust the schedule

 9   accordingly.

10             The expedited discovery contemplated herein will commence concurrently with full

11   discovery on all issues in the litigation. This proposal is not intended to limit the discovery any

12   party may seek on any issue.

13        I.      Document Discovery1

14                a. Parameters for Document Discovery

15                       i. Both parties agree that document custodians shall be limited to:

16                             1. Those persons involved in drafting or negotiating the Strategic

17                                  Alliance Agreement (the “SAA”) and its amendments; and

18                             2. Up to three (3) additional custodians identified by the party

19                                  propounding the document requests.

20                      ii. Both parties agree to conduct email searches using agreed-upon search

21                          terms and date ranges, to be negotiated in good faith no more than seven (7)

22                          days after the date of service of proposed search terms.

23                      iii. Documents must be produced without delay and, subject to the resolution

24                          of pending discovery disputes, document productions will be substantially

25                          completed by November 1, 2021.

26                      iv. The parties agree to work together to submit any disputes regarding
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     1
28     Nothing in this protocol alters or amends the limitations on the scope, frequency, or extent of
     discovery in Federal Rule of Civil Procedure 26.
                                                                                  PROPOSED PROTOCOL FOR
                                                       1               EXPEDITED SINGLE-ISSUE RESOLUTION
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 1                     document discovery to the Court no later than November 22, 2021.

 2          b. Subject to any privilege claims, both parties agree to immediately begin producing

 3             the following categories of documents and to continue in good faith to produce such

 4             documents on a rolling basis :

 5                  i. All documents and communications regarding the SAA and its

 6                     amendments, negotiation of the SAA and its amendments, and discussion

 7                     about potential or proposed amendments.

 8                 ii. All drafts of the SAA and its amendments, including but not limited to drafts

 9                     of the contract provisions relevant to the Issue.

10                iii. All documents and communications relating to the application and

11                     interpretation of the contract provisions relevant to the Issue, including but

12                     not limited to (1) all documents and communications supporting an

13                     interpretation that Zoom is not obligated to support RingCentral customers

14                     though the life of the customer contracts entered into between RingCentral

15                     and its customers, and (2) all documents and communications supporting an

16                     interpretation that Zoom is obligated to support RingCentral customers

17                     though the life of the customer contracts.

18          c. In addition to the categories of documents set forth in Part I(a) above, each party

19             shall be permitted to serve no more than five (5) additional document requests in

20             connection with the Issue. The parties agree to act in good faith to target any such

21             document requests as narrowly as possible to the Issue.

22                  i. All document requests must be served by September 15, 2021.

23                 ii. All objections to document requests must be served by September 30,

24                     2021.

25    II.   Procedure for Addressing Discovery Disputes

26          a. The parties shall meet and confer regarding any discovery disputes concerning the
27             Issue before raising them with the Court. Any such meet and confer shall occur

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 1              within seven (7) days of the dispute being raised. The parties agree to act in good

 2              faith to resolve any such disputes without the need for Court intervention.

 3           b. Discovery disputes concerning the Issue may be raised by letter motion, filed with

 4              the clerk, not to exceed five (5) pages 24-point spacing. The response shall be by

 5              letter not to exceed five (5) pages 24-point spacing and filed with the clerk not later

 6              than seven (7) calendar days after receipt of the letter motion.

 7    III.   Privilege Issues

 8           a. The parties shall exchange privilege logs for any responsive documents withheld

 9              from production no later than December 30, 2021.

10           b. Privileged and work product documents and communications created after the

11              filing of the complaint in this action need not be logged.

12           c. Any privilege disputes shall be addressed according to the procedure set forth in

13              Part II above.

14    IV.    Requests for Admission

15           a. Requests for Admission concerning the Issue must be served by January 3, 2022.

16           b. Requests for Admission must be answered within twenty-one (21) days after the

17              date of service.

18    V.     Interrogatories

19           a. Each party shall be permitted to serve no more than five (5) interrogatories related

20              to the Issue. The parties agree to act in good faith to target any such interrogatories

21              as narrowly as possible to the Issue.

22                   i. Interrogatories concerning the Issue must be served by October 15, 2021.

23                  ii. Interrogatories concerning the Issue must be substantively answered by

24                      November 15, 2021.

25    VI.    Depositions

26           a. Each party shall be entitled to five (5) fact witness depositions. The parties may
27              agree to additional fact depositions based on information learned through

28              discovery.

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 1           b. Depositions taken in connection with the Issue will not preclude the parties from

 2              later taking depositions of the same witnesses in connection with the overall case,

 3              with the limitation that the parties shall be limited to a total of 7 hours with any

 4              individual witness, which may be divided over two (2) days. The parties will act in

 5              good faith to avoid repeating the same questions and topics already covered in a

 6              prior deposition. The parties may seek additional time for any deposition, either by

 7              stipulation or court order, if needed to fairly examine a deponent as permitted by

 8              FRCP 30(d)(1).

 9           c. Depositions concerning the Issue must be noticed by no later than

10              November 15, 2021.

11           d. All depositions concerning the Issue shall be scheduled between November 1, 2021

12              and December 31, 2021.

13           e. To the extent practicable, the parties shall schedule their depositions concerning the

14              Issue in alternating order. The noticing party shall determine the sequence in which

15              it schedules the depositions it noticed.

16           f. If possible the depositions concerning the Issue will be conducted in-person, subject

17              to the state of the pandemic at that time.

18           g. Any deposition disputes shall be addressed according to the procedure set forth in

19              Part II above.

20    VII.   Identification of Experts and Witnesses

21           a. Each party will be limited to two (2) experts, and the parties agree that they will not

22              be presenting damages experts at this time.

23           b. Each party shall identify the name of their experts and the specific topics on which

24              the experts will be opining by October 30, 2021.

25           c. Expert disclosures shall be made by November 30, 2021.

26           d. Each party will be permitted to depose the other party’s experts by December 31,
27              2021, with notice of expert depositions being given no later than December 15,

28              2021.

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 1          e. Rebuttal expert disclosures shall be made by December 30, 2021.

 2          f. Each party will be permitted to depose the other party’s rebuttal expert by January

 3             21, 2022.

 4    VIII. Daubert Motions

 5          a. Daubert motions shall be made by January 17, 2022, and shall be no more than

 6             five pages 24-point spacing.

 7          b. Oppositions shall be filed January 31, 2022, and shall be no more than five pages

 8             24-point spacing.

 9    IX.   Motions in Limine and other pre-trial matters

10          a. The parties shall proceed pursuant to the pre-trial schedule contained at Section

11             IV(D) of the Court’s Standing Order for Civil Cases. Deadlines will run from the

12             dates identified by the Court for the Final Pretrial Conference and final hearing.

13    X.    Hearing

14          a. The parties shall request up to a three-day hearing in February 2022, with the

15             precise date set to be set by the Court.

16          b. The Court will set a Pretrial Conference on a date convenient for the Court.

17          c. The parties will request that the Court issue findings of fact and conclusions of law

18             within thirty (30) days of the conclusion of the hearing.

19          d. The usual rules and procedures regarding post-trial motions and appeals remain in

20             effect and are not waived by the parties. The parties agree that they will not appeal

21             to the Court’s finding of facts and conclusions until after the conclusion of the entire

22             case.

23    XI.   Protocol Modifications

24          a. The parties may agree to modify any of the terms in Parts I-VII of the protocol,

25             without the need for Court intervention, so long as any such modifications do not

26             have the effect of changing the terms in Parts VIII-X.
27          b. In the event that a party seeks to modify any of the terms in Parts I-VII of the

28             protocol without the other party’s consent, the party seeking the modification may

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 1              submit the dispute to the Court in accordance with the procedure set forth in Part

 2              II(b) above.

 3          c. In the event the hearing is not set in February 2022, the parties shall meet and confer

 4              to propose an adjusted schedule based on the new hearing date.

 5

 6    Dated: September 9, 2021                 LATHAM & WATKINS LLP
 7
                                               By       /s/ Douglas E. Lumish
 8                                                      Douglas E. Lumish
                                                        Matthew Rawlinson
 9                                                      Jennifer Barry
                                                        Arman Zahoory
10                                                      of Latham & Watkins LLP
11                                                      Attorneys for Plaintiff & Counterdefendant
                                                        Zoom Video Communications, Inc.
12

13
      Dated: September 9, 2021                 PAUL, WEISS, RIFKIND, WHARTON &
14
                                               GARRISON LLP
15

16                                             By       /s/ Melinda Haag
                                                        Brad Karp
17                                                      Melinda Haag
                                                        Walter F. Brown
18                                                      R. Rosie Vail

19                                                      Attorneys for Defendant & Counterclaimant
                                                        RingCentral, Inc.
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                                                                              PROPOSED PROTOCOL FOR
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 1                              ATTESTATION OF CONCURRENCE

 2          I, Douglas E. Lumish, hereby attest, pursuant to N.D. Cal. Local Rule 5-1(i)(3), that each

 3   of the signatories identified above has concurred in the filing of this document. I declare under

 4   penalty of perjury under the laws of the United States of America that the foregoing is true and

 5   correct.

 6
      Dated: September 9, 2021                              /s/ Douglas E. Lumish
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